                                                        U.S. Bankruptcy Court
                                                      Eastern District of Michigan

In re:                                                      Bankruptcy Case No. 18−47723−mbm
DOUGLAS SCOTT SNYDER
          Debtor                                            Bankruptcy Chapter 7

                                                            Adversary Proceeding No. 18−04559−mbm
TIMOTHY J. MILLER, TRUSTEE
          Plaintiff
          v.
DOUGLAS SCOTT SNYDER
          Defendant
                                        REISSUED SUMMONS IN AN ADVERSARY PROCEEDING

YOU ARE SUMMONED and required to submit a motion or answer to complaint which is attached to this summons to the Clerk of the
Bankruptcy Court within 30 days from the date of issuance of this summons, except that the United States and its offices and agencies shall
submit a motion or answer to the complaint within 35 days of issuance.
Address of Clerk
                      Clerk, U.S. Bankruptcy Court
                      Eastern District of Michigan
                      211 West Fort Street
                      Detroit, Michigan 48226
At the same time, you must also serve a copy of the motion or answer upon the plaintiff's attorney.


Name and Address of Plaintiff's Attorney
                Peter F. Schneider
                645 Griswold St.
                Suite 3900
                Detroit, MI 48226
If you make a motion, your time to answer is governed by Federal Rule of Bankruptcy Procedure 7012.

IF YOU FAIL TO RESPOND TO THIS SUMMONS, YOUR FAILURE WILL BE DEEMED TO BE YOUR CONSENT TO ENTRY OF A
JUDGEMENT BY THE BANKRUPTCY COURT AND JUDGMENT BY DEFAULT MAY BE TAKEN AGAINST YOU FOR THE RELIEF
DEMANDED IN THE COMPLAINT.

IF THE DEFENDANT IS A CORPORATION, OTHER THAN THE DEBTOR OR A GOVERNMENT UNIT, NOTICE IS HEREBY GIVEN THAT
PURSUANT TO FED.R.BANK.P.7007.1, THE DEFENDANT/CORPORATION IS REQUIRED TO FILE TWO COPIES OF A CORPORATE
OWNERSHIP STATEMENT ON A FORM AVAILABLE FROM THE CLERK. [See www.mieb.uscourts.gov]




                   Date Issued:
                                        12/14/2018




                                                                                      Katherine B. Gullo, Clerk Of Court
                                                                                      United States Bankruptcy Court

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